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              10
                                            UNITED STATES DISTRICT COURT
              11
                                        CENTRAL DISTRICT OF CALIFORNIA
              12
              13
                   UNITED STATES OF AMERICA,                   Case No. 5:23-cr-00021-JGB
              14
                               Plaintiff,                      DECLARATION OF STEPHEN G.
              15                                               LARSON IN SUPPORT OF JASON
                        vs.                                    CARDIFF’S UNOPPOSED EX
              16                                               PARTE APPLICATION FOR
                 JASON EDWARD THOMAS                           PERMISSION TO TEMPORARILY
              17 CARDIFF,                                      RELOCATE TO DALLAS
              18               Defendant.                      [Filed concurrently with Ex Parte
                                                               Application and [Proposed] Order]
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LOS ANGELES         DECLARATION OF STEPHEN G. LARSON IN SUPPORT OF JASON CARDIFF’S UNOPPOSED EX PARTE
                            APPLICATION FOR PERMISSION TO TEMPORARILY RELOCATE TO DALLAS
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 1                      DECLARATION OF STEPHEN G. LARSON
 2 I, Stephen G. Larson, declare as follows:
 3          1.     I am a partner with Larson LLP, and I represent Jason Cardiff in this
 4 matter. I make this declaration in support of Jason Cardiff’s Ex Parte Application
 5 for Permission to Temporarily Relocate to Dallas.
 6          2.     Mr. Cardiff has been released on a $530,000 appearance bond, justified
 7 in the amount of $500,000 with full deeding of real property. His release conditions
 8 include: a travel restriction to the Central District of California and the Southern
 9 District of Texas; a curfew between the hours of 8:00 p.m. and 8:00 a.m.; and,
10 placement in the custody of third-party custodian, Attorney Stephen Cochell. Lilia
11 Murphy and Brian Kennedy executed affidavits of sureties in support of the bond.
12 Ms. Murphy also deeded her home as collateral. The December 6, 2023 Release
13 Order and Bond Form is attached as Exhibit A.
14          3.     Mr. Cardiff has been living with Attorney Cochell in the Kingwood,
15 Texas, and he is being supervised by United States Probation Officer Jack Sherrod
16 of the Southern District of Texas.
17          4.     On July 8, 2024, Hurricane Beryl struck Texas, leaving millions of
18 Houston residents without electricity during surging summer temperatures.
19          5.     On July 9, United States Probation and Pretrial Services Officer
20 Kathleen Torres-Vasquez approved Mr. Cardiff’s emergency relocation to Dallas,
21 and Mr. Cardiff left Houston for Dallas with his third-party custodian. Officer
22 Torres-Vasquez indicated that Mr. Cardiff had approval to remain in Dallas until
23 July 12, 2024, or until electricity is restored to Mr. Cardiff’s place of residence,
24 whichever is later, and that counsel should file the instant ex parte application
25 seeking court permission for the same.
26          6.     On July 9, 2024, Sureties Lilia Murphy and Brian Kennedy informed
27 my law partner, Hilary Potasher, that they do not oppose this request.
28 //
                                                2
        DECLARATION OF STEPHEN G. LARSON IN SUPPORT OF JASON CARDIFF’S UNOPPOSED EX PARTE
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 1        7.    On July 10, 2024, Assistant United States Attorney Valerie
 2 Makarewicz indicated that the government does not oppose this request.
 3        8.    I declare under penalty of perjury under the laws of the United States of
 4 America that the foregoing is true and correct to the best of my knowledge.
 5
 6        Executed on this 10th day of July, 2024, at Los Angeles, California.
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 8                                            /s/ Stephen G. Larson
                                              Stephen G. Larson
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     DECLARATION OF STEPHEN G. LARSON IN SUPPORT OF JASON CARDIFF’S UNOPPOSED EX PARTE
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                       EXHIBIT A



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